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                           Nos. 23-35440, 23-35450

                                     IN THE
     UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT

                          UNITED STATES OF AMERICA
                              Plaintiff-Appellee,
                                       v.
                               STATE OF IDAHO
                             Defendant-Appellant,
                                       v.
                             MIKE MOYLE, ET AL.,
                             Movants-Appellants


                On Appeal from the United States District Court
                           For the District of Idaho
                               No. 1:22-cv-329
                            Hon. B. Lynn Winmill


        BRIEF OF INDIANA AND 19 OTHER STATES AS AMICI
       CURIAE IN SUPPORT OF APPELLANT STATE OF IDAHO


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                         INTEREST OF AMICI STATES

      The States of Indiana, Alabama, Alaska, Arkansas, Florida, Iowa, Kansas,

Louisiana, Mississippi, Montana, Nebraska, North Dakota, Oklahoma, South Caro-

lina, South Dakota, Tennessee, Texas, Utah, West Virginia, and Wyoming, respect-

fully submit this brief as amici curiae in support of the Appellants.1

      In Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 232 (2022), the

Supreme Court “return[ed] the issue of abortion to the people’s elected representa-

tives.” In many States, including Idaho, the people’s elected representatives have

voted to protect prenatal life by prohibiting most abortions, exercising States’ tradi-

tional authority to regulate public health and welfare within their borders. In this

case, however, the United States attempted an end run around Dobbs by obtaining a

federal injunction that prevents hospitals receiving Medicaid and Medicare funds

from complying with Idaho’s abortion regulations.

      More remarkable still, the United States is attempting to prevent private com-

pliance with Idaho law through legislation, the Emergency Medical Treatment and

Labor Act (EMTALA), 42 U.S.C. § 1395dd, enacted under the Spending Clause. Its

position means that the federal government can pay “private parties” to disregard

state laws in traditional areas of state concern, Moyle v. United States, 144 S. Ct.


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 Amici States file this brief under Federal Rule of Appellate Procedure 29(a)(2)
and in accordance with this Court’s Order of August 5, 2024. Dkt. 116.


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2015, 2020 (2024) (Barrett, J., concurring)—an implication that the United States

never disclaimed at oral argument before the U.S. Supreme Court.

      If accepted, the United States’ position would permit the Executive Branch to

seek decrees overriding all manner of state laws and fundamentally transform the

relationships among citizens, their States, and the United States. Amici States have

a profound interest in preserving the federalist structure, their power to regulate for

the welfare of their citizens, and state laws adopted by citizens’ elected representa-

tives to protect unborn children from intentional destruction.

                          SUMMARY OF ARGUMENT

      Idaho, like many States, prohibits most abortions to protect unborn children.

As the Supreme Court held in Dobbs v. Jackson Women’s Health Org., 597 U.S. 215

(2022), the power to enact laws like Idaho’s regulating medicine, health, and safety

resides with the States. No provision of the Constitution creates a federal police

power. As the United States reads EMTALA, however, it may direct hospitals to

disregard generally applicable state medical regulations. And under its reading, pri-

vate hospitals and emergency room physicians may ignore state medical regulations

when they (or the federal government) think it necessary. Nothing in the govern-

ment’s argument limits its sweeping assertion of authority to the abortion context.




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      EMTALA cannot be read to preempt state laws regulating medicine, including

abortion restrictions. The statute requires hospitals accepting Medicaid and Medi-

care funds to stabilize patients with emergency medical conditions. But EMTALA

does not purport to establish national standards as to what care is, or is not, medically

necessary or appropriate. It simply prevents hospitals from refusing to stabilize pa-

tients using otherwise lawful medical procedures. Construing EMTALA’s stabiliza-

tion requirement as requiring hospitals to provide abortions in violation of state law

is particularly implausible. By its terms, the stabilization requirement’s protections

extend to both “pregnant wom[e]n” and their “unborn child[ren].” There is no “di-

rect” conflict between EMTALA and Idaho law that supports a preemption finding.

      Adopting the federal government’s capacious view of preemption would raise

significant constitutional difficulties. EMTALA is Spending Clause legislation. Alt-

hough Congress may seek to entice States and regulated entities to change their be-

havior through the Spending Clause, the Supreme Court has stressed that this power

cannot be wielded to destroy the federal-state balance. But that is how the United

States seeks to employ Spending Clause legislation here. In the United States’ view,

the federal government can pay private hospitals to violate Idaho’s abortion laws

with impunity—and then sue the State of Idaho to enjoin those laws as a matter of

federal supremacy. Or put another way, the United States believes that the federal




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government can establish a financial relationship directly with a citizen that, at the

citizen’s election, immunizes the citizen from state police power.

      A proper understanding of grant conditions and the federal spending power—

not to mention the basic dual-sovereign structure of American constitutional gov-

ernment—does not permit such an arrangement. Whatever the status of federal con-

ditions for other purposes, voluntarily accepted conditions cannot be considered

“law” capable of preempting state law under the Supremacy Clause, especially

where the federal government and private recipients negotiate terms without a

State’s involvement. Federal grant recipients remain bound by state law.

      The proper question in this case thus is not whether Idaho medical regulations

are preempted by federal law, but whether Idaho’s regulations prevent private hos-

pitals from qualifying for federal Medicare grants. The answer to that question is

“no” under EMTALA’s express terms, but framing the question properly is critical

for the constitutional balance. Construing EMTALA to excuse private hospitals and

doctors from complying with state medical regulations would radically restructure

the relationships among the federal government, States, and citizens. It would allow

the federal government to displace state law by paying private parties, replacing law-

making by elected state officials with a system of private barter.

      The extent to which the United States has overstepped its role is underscored

by its failure to satisfy the one of the most basic requirements for bringing suit—


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identifying a cause of action. No statute gives the federal government a cause of

action to seek injunctive relief against States to prevent enforcement of state laws

that allegedly disqualify hospitals from accepting federal funds. And equity cannot

be used to evade EMTALA’s comprehensive remedial scheme. This Court should

reject the federal government’s attempt to displace valid state medical regulations.

                                   ARGUMENT

I.    Through Its Novel—and Breathtakingly Broad—View of EMTALA, the
      United States Seeks To Invert State and Federal Roles
      The Constitution prescribes a “healthy balance of power between the States

and the Federal Government.” New York v. United States, 505 U.S. 144, 181 (1992)

(quotation omitted). In our federalist system, the “regulation of health and safety

matters is primarily, and historically, a matter of local concern.” Hillsborough Cnty.

v. Automated Med. Labs., Inc., 471 U.S. 707, 719 (1985); see De Buono v. NYSA-

ILA Med. & Clinical Servs. Fund, 520 U.S. 806, 814 (1997). The federal government

lacks a “plenary police power.” United States v. Lopez, 514 U.S. 549, 566 (1995).

The power to regulate health, safety, and medicine resides with the States.

      Not long ago in Dobbs v. Jackson Women’s Health Organization, 597 U.S.

215 (2022), the Supreme Court confirmed that States’ traditional power to regulate

medicine extends to protecting prenatal life. It “returned” authority to regulate abor-

tion “to the people and their elected representatives,” empowering “States [to] reg-

ulate abortion for legitimate reasons.” Id. at 292, 300. The Court stressed that state


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regulations to protect prenatal life would be subject to “the same standard of review

as other health and safety measures.” Id. at 237. Idaho’s prohibition of intentionally

causing “the death of [an] unborn child” thus represents a traditional exercise of state

police power over matters firmly committed to the States. Idaho Code § 18-604(1).

No enumerated power authorizes the federal government to countermand state laws

protecting prenatal life.

      Through a novel construction of EMTALA—a Reagan-era law on the books

for nearly four decades—the United States seeks to invert traditional state and fed-

eral roles for vast numbers of hospitals. The United States argues that compliance

with EMTALA means that “termination” of pregnancy—including by abortion—“is

required to stabilize a pregnant woman whose emergency medical condition threat-

ens serious harm to her health,” even if those abortions are prohibited by state law.

U.S. Br. 9, Moyle v. United States, 144 S. Ct. 2015 (2024) (Nos. 23-726, 23-727).

Critically, however, the United States identifies no principle that would limit its ar-

gument to abortion. Indeed, when the United States was previously before this Court,

it argued that “EMTALA frames [its] stabilization requirement in broad terms.

It does not exempt any form of care.” Dkt. 35 at 12 (emphasis added).

      The implications are staggering. Under the United States’ view, EMTALA

“mandates whatever a medical provider concludes is medically necessary to stabilize

whatever condition is present”—state laws be damned. Texas v. Becerra, 89 F.4th


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529, 541 (5th Cir. 2024). Doctors may now claim that EMTALA immunizes them

from state regulation and discipline whenever they engage in conduct that they or

the federal government deem “necessary” for patient stability.

      The inescapable implication is that federal—not state—law governs physician

conduct and medical practice in countless emergency rooms nationwide. For exam-

ple, some States allow physicians to prescribe medical marijuana. See, e.g., Ark.

Const. amend. 98, § 3; 35 Pa. Stat. § 10231.401 et seq. Others, like Indiana, ban

marijuana possession for any reason. See, e.g., Ind. Code § 35-48-4-11; Kan. Stat.

Ann. § 21-5705(d)(2). If the United States is correct, however, physicians in all 50

States must prescribe marijuana whenever they deem it “necessary” to stabilize pa-

tients. And what of other state restrictions? Those restrictions, too, must fall away

under the United States’ theory. “Congress could apparently pay doctors to per-

form . . . third-trimester elective abortions or eugenic abortions. It could condition

Medicare funds on hospitals’ offering assisted suicide even in the vast majority of

States that ban the practice.” Moyle v. United States, 144 S. Ct. 2015, 2034 (2024)

(Alito, J., dissenting). Under the United States’ view, hospitals may overcome any

state regulation on medical care simply by accepting federal funds—including “au-

thoriz[ing] the practice of medicine by any doctor who accepts Medicare payments

even if he or she does not meet the State’s licensing requirements.” Id.




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      When this case was before the Supreme Court, several of the Justices pressed

the United States, seeking some limiting principle to its argument. Could the federal

government, for instance, condition receipt of funds on compliance with “medical

ethics rules provided for by the federal government, a medical malpractice regime,

and a medical licensing regime such that effectively all state medical malpractice

laws, all state medical licensing laws would be preempted?” Oral Arg. Tr. 80:24–

81:6, Moyle v. United States, 144 S. Ct. 2015 (2024) (Nos. 23-726, 23-727). The

United States thinks “that very likely Congress could make those kinds of judg-

ments.” Id. at 81:21–23. The only concession the United States made was that if the

federal government “entirely t[ook] over a state function” then “maybe that would

be subject to a different principle”—but only “maybe.” Id. at 83:8–10.

      The impetus for the federal government’s claim to a new, expansive authority

is clear: It disagrees with the Supreme Court’s decision to return “the issue of abor-

tion” to the States. Dobbs, 597 U.S. at 232, 300. Rather than allow elected state

officials who “evaluate [competing] interests differently” to protect prenatal life, id.

at 256, the United States seeks to reimpose a federal abortion right. And in pursuit

of that goal, it is ready to accept any amount of collateral damage to traditional state

authority—up to the point of saying it may displace any state regulation by offering

some federal funds.




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      Perhaps some might agree with the United States’ current policy. But it is

important to remember that the United States’ position on federalism cuts both ways:

the United States’ position also means that Congress could use Spending Clause

conditions to ban medical providers who accept Medicaid or Medicare patients from

providing abortions in States that have a “state constitutional amendment requiring

abortion to be available.” Oral Arg. Tr. 96:24–97:12. And what’s to stop Congress

from seeking to meddle with state affairs only in the abortion context? Perhaps an-

other Congress would enact Spending Clause legislation that pays private gun shops

to ignore otherwise constitutional state restrictions on firearm sales. Policy prefer-

ences should not affect what one thinks of the United States’ grab for power.

II.   EMTALA Does Not Preempt Generally Applicable State Laws
      Regulating Medicine
      EMTALA’s plain language cannot be read to displace generally applicable

state laws governing health, safety, and medicine. EMTALA “simply . . . impose[s]

on hospitals the legal duty to provide . . . emergency care,” regardless of the patient’s

insurance status. Bryan v. Rectors & Visitors of Univ. of Va., 95 F.3d 349, 351 (4th

Cir. 1996); see Texas, 89 F.4th at 539; Correa v. Hosp. S.F., 69 F.3d 1184, 1189 (1st

Cir. 1995) (“Congress [was] concerned about reports that hospital[s] . . . are refusing

to accept or treat patients with emergency conditions if the patient does not have




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medical insurance.” (quotation omitted)). It leaves to States the job of deciding

whether abortion constitutes appropriate medical practice.

      A.     EMTALA does not establish national standards of care

      To begin, it is helpful to understand what EMTALA requires of hospitals par-

ticipating in Medicaid and Medicare. If a person comes to the emergency room and

requests “examination or treatment for a medical condition,” the hospital must pro-

vide a medical screening. 42 U.S.C. § 1395dd(a). The hospital then must evaluate

whether the patient has an “emergency medical condition,” § 1395dd(b)(1), defined

as a condition “manifesting itself by acute symptoms of sufficient severity” that “the

absence of immediate medical attention could reasonably be expected to result in”

“placing the health of the individual . . . in serious jeopardy” or “serious impairment

to bodily functions” or “serious dysfunction of any bodily organ or part,”

§ 1395dd(e)(1)(A)(i)–(iii). If a patient’s condition qualifies, then the hospital must

provide “such treatment as may be required to stabilize the medical condition” or

“for transfer” to another facility that can provide treatment. § 1395dd(b)(1)(A)–(B).

This “stabilization or transfer” requirement achieves Congress’s principal goal in

EMTALA of providing emergency care to the uninsured and preventing patient

dumping. See Bryan, 95 F.3d at 351.




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      What EMTALA does not do is establish national standards as to what consti-

tutes appropriate stabilizing treatment for every serious medical condition. EM-

TALA explains that “to stabilize” a patient means “to provide such medical treat-

ment of the condition as may be necessary to assure, within reasonable medical prob-

ability, that no material deterioration of the condition is likely to result from or occur

during the transfer of the individual from a facility.” 42 U.S.C. § 1395dd(e)(3)(A).

EMTALA, however, does not purport to define what constitutes “necessary” or ap-

propriate “medical treatment” for the wide range of conditions that physicians may

see. The only specific intervention it requires is the “deliver[y]” of “the placenta”

with a baby. Id.; see § 1395dd(e)(3)(B). Regulation of all other interventions is left

to the States. In fact, EMTALA disclaims “any supervision or control over the prac-

tice of medicine or the manner in which medical services are provided.” § 1395.

      As courts have recognized for decades, “[t]he statutory language of the EM-

TALA clearly declines to impose on hospitals a national standard of care.” Eber-

hardt v. City of L.A., 62 F.3d 1253, 1258 (9th Cir. 1995). “EMTALA was not in-

tended to establish guidelines for patient care.” Harry v. Marchant, 291 F.3d 767,

773 (11th Cir. 2002); see Marshall v. E. Carroll Parish Hosp. Serv. Dist., 134 F.3d

319, 322 (5th Cir. 1998); Bryan, 95 F.3d at 351. It is “no substitute” for state laws,

such as “medical malpractice” laws, that regulate the medical profession. Baber v.

Hosp. Corp. of Am., 977 F.2d 872, 880 (4th Cir. 1992). It would be surprising indeed


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if EMTALA’s targeted direction to stabilize patients permitted doctors to ignore any

and all state laws that offend their sense of necessity. Congress does not “hide ele-

phants in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001).

      B.     EMTALA does not mandate abortions

      It is implausible to construe EMTALA as requiring hospitals and physicians

to perform abortions prohibited by state law. EMTALA nowhere mentions the topic

of abortion, as one would expect if Congress were legislating on one of the most

contentious issues in American politics. See West Virginia v. EPA, 597 U.S. 697,

721 (2022); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159–60

(2000). As even the United States concedes, “when Congress intends to create spe-

cial rules governing abortion,” “it does so explicitly.” U.S. Br. 40. Here, however,

Congress nowhere created an abortion-specific exception to the general rule that

state law governs the conduct and “practice of medicine.” 42 U.S.C. § 1395.

      To the contrary, Congress directed hospitals to care for both pregnant women

and their unborn children. EMTALA defines an “emergency medical condition” to

include one that “could reasonably be expected to result” in “placing the health of

the individual (or, with respect to a pregnant woman, the health of the woman or her

unborn child) in serious jeopardy.” 42 U.S.C. § 1395dd(e)(1)(A)(i) (emphasis

added); see § 1395dd(e)(1)(B). EMTALA thus places obligations on hospitals to




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consider both the health of a “pregnant woman” and “her unborn child.” But per-

forming an abortion necessarily places the “health of . . . [an] unborn child . . . in

serious jeopardy”—indeed, it results in the child’s destruction. To read EMTALA

as mandating abortions would “put the statute ‘at war with itself.’” United States ex

rel. Polansky v. Exec. Health Res., Inc., 599 U.S. 419, 434 (2023).

      The United States would have this Court focus on hospitals’ obligations to

pregnant women only. But that EMTALA imposes obligations on hospitals to preg-

nant women does not allow hospitals to ignore the health of unborn children. Hos-

pitals cannot “pick and choose” between their dual obligations. Epic Sys. Corp. v.

Lewis, 584 U.S. 497, 511 (2018). They must stabilize both women and unborn chil-

dren. See Texas, 89 F.4th at 542, 544.

      C.     EMTALA does not preempt Idaho laws protecting unborn children

      As a result, EMTALA does not preempt generally applicable state abortion

regulations (or any other generally applicable state medical regulations). In consid-

ering preemption claims, courts “start with the assumption that the historic police

powers of the States were not to be superseded by the Federal Act unless that was

the clear and manifest purpose of Congress.” Medtronic, Inc. v. Lohr, 518 U.S. 470,

485 (1996) (quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947)).

“That approach is consistent with both federalism concerns and the historic primacy

of state regulation of matters of health and safety.” Id. Thus, it is not enough for the


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United States to posit a possible conflict between federal and state law here. The

United States “must . . . present a showing . . . of a conflict . . . strong enough to

overcome the presumption that state and local regulation of health and safety matters

can constitutionally coexist with federal regulation.” Hillsborough, 471 U.S. at 716;

see Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981) (requiring

Spending Clause conditions to be “unambiguous[]”).

      The United States comes nowhere close. EMTALA expressly states that “[t]he

provisions of this section do not preempt any State or local law requirement, except

to the extent that the requirement directly conflicts with a requirement of this sec-

tion.” 42 U.S.C. § 1395dd(f) (emphasis added); see Cipollone v. Liggett Grp., Inc.,

505 U.S. 504, 517 (1992) (“Congress’ enactment of a provision defining the pre-

emptive reach of a statute implies that matters beyond that reach are not pre-

empted.”). The preemption issue thus reduces to whether Idaho law “directly con-

flicts” with EMTALA. But there is no conflict for the reasons above.

      Idaho law makes particularly clear that it poses no barrier to providing stabi-

lizing medical treatments consistent with EMTALA. Idaho law not only allows doc-

tors to provide any number of interventions apart from abortion to address a pregnant

woman’s condition. Idaho law also expressly allows doctors to administer medical

treatment that might cause “the accidental death of, or unintentional injury to, the

unborn child.” Idaho Code § 18-622(4). And it allows Idaho doctors to perform an


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abortion if “necessary to prevent the death of the pregnant woman” while giving “the

best opportunity for the unborn child to survive.” § 18-622(2)(a)(i)–(ii). So like EM-

TALA itself, Idaho law embraces the dual requirements of caring for both a pregnant

woman and her unborn child.

      The alleged conflict is not “direct[]” either. For the conflict to be “direct,”

Idaho law would have to countermand EMTALA’s stabilization requirement—for

example, by ordering hospitals to deny all care to pregnant women or requiring those

hospitals to hand over a percentage of their federal grants to the State. Lawrence

Cnty. v. Lead-Deadwood Sch. Dist. No. 40-1, 469 U.S. 256, 260–68 (1985) (declar-

ing a state law preempted that channeled away grants received by local governments

in conflict with a federal statute). But all Idaho has done is enact a generally appli-

cable law on abortion. Any conflict is “merely incidental” and hence “preemption

does not apply.” In re T.D. Bank, N.A., 150 F. Supp. 3d 593, 607 (D.S.C. 2015).

      The United States’ preemption argument and request for an injunction against

enforcement of Idaho law, moreover, only make sense if every hospital in Idaho

must accept federal funds. But hospitals may comply with both federal and state law

simply by turning down federal money. Not all Idaho hospitals are Medicare provid-

ers. See D. Ct. Dkt. 17-9 ¶ 8 (noting “[t]here are 52 Medicare-participating hospitals

in Idaho”); III.B. Overview of the State – Idaho – 2023, HRSA Maternal & Child

Health, https://mchb.tvisdata.hrsa.gov/Narratives/Overview/da820095-c0e3-4708-


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a1a7-abb733cde3af (listing a total of 53 hospitals in Idaho). Nonparticipating hospi-

tals do not violate federal law even if they refuse a service that the Department of

Justice deems required by EMTALA. Rejecting or being ineligible for further fed-

eral grants does not amount to “violating” federal law.

III.   Construing EMTALA to Preempt Idaho Law Raises Serious Constitu-
       tional Difficulties

       Construing EMTALA to excuse private hospitals from complying with

Idaho’s prohibitions on abortion would raise serious constitutional difficulties. EM-

TALA is Spending Clause legislation. Any conditions it imposes on States depends

on States accepting them knowingly. See Arlington Cent. Sch. Dist. Bd. of Ed. v.

Murphy, 548 U.S. 291, 296 (2006); Pennhurst, 451 U.S. at 17. Here, Idaho “never

consented to any conditions imposed by EMTALA.” Moyle, 144 S. Ct. at 2028

(Alito, J., dissenting). But under the United States’ theory, Congress may cut out the

States by paying private parties to ignore state law. That theory—which has no read-

ily discernable limits—threatens to “undermine the status of the States as independ-

ent sovereigns in our federal system.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567

U.S. 519, 577 (2012) (opinion of Roberts, C.J., joined by Breyer and Kagan, JJ.).

       A.    The Supremacy Clause applies to federal law, not grant conditions

       The Supremacy Clause provides that “the Laws of the United States . . . shall

be the supreme Law of the Land.” U.S. Const. art. VI. Although Spending Clause

legislation may itself be “law” for some purposes, see Health & Hosp. Corp. v.


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Talevski, 599 U.S. 166, 178 (2023), a grant condition established by Spending

Clause legislation is not “law” for purposes of the Supremacy Clause where the con-

dition is part of an arrangement between the federal government and a private party,

see Moyle, 144 S. Ct. at 2033 (Alito, J., dissenting) (“States cannot be bound by

terms that they never accepted.”); Philip Hamburger, Purchasing Submission: Con-

ditions, Power, and Freedom 132 (2021).

      Conditions imposed by Spending Clause legislation are not self-executing.

“Unlike ordinary legislation, which ‘imposes congressional policy’ on regulated par-

ties ‘involuntarily,’ Spending Clause legislation operates based on consent,” i.e., the

consent of the individual accepting a federal grant, as opposed to the consent of the

people writ large. Cummings v. Premier Rehab Keller, P.L.L.C., 596 U.S. 212, 219

(2022) (quoting Pennhurst, 451 U.S. at 16–17). Consequently, a grantee need not

accept a federal condition in the first instance, and if it does, the “typical remedy” is

“action by the Federal Government to terminate funds.” Talevski, 599 U.S. at 183

(quoting Gonzaga Univ. v. Doe, 536 U.S. 273, 280 (2002)); see Townsend v. Swank,

404 U.S. 282, 292 (1971) (Burger, C.J., concurring) (“The appropriate inquiry in any

case should be simply whether the [grantee] has indeed adhered to the provisions

and is accordingly entitled to utilize federal funds in support of its program.”).

      It would be odd to treat spending conditions as “law” for purposes of the Su-

premacy Clause because “Congress’ legislative powers cannot be avoided by simply


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opting out.” David Engdahl, The Contract Thesis of the Federal Spending Power,

52 S.D. L. Rev. 496, 498 (2007); see Coyle v. Smith, 221 U.S. 559, 572 (1911)

(“[A]ll constitutional laws are binding on the people . . . whether they consent to be

bound by them or not.” (quoting Pollard v. Hagan, 44 U.S. 212, 224 (1845)). Con-

gress’s spending power “has no incidental power, nor does it draw after it any con-

sequences of that kind.” Statement of President Monroe, 39 Annals of Cong. 1842

(1822). If a law requires “legislative sanction or support, the State authority must be

relied on.” Id. Because spending “conditions do not purport to bind . . . in the manner

of law,” “[n]o federal condition, by whatever means adopted, should be understood

to defeat the obligation of contrary state law.” Hamburger, supra, at 131.

      “[R]ead[ing] the Supremacy Clause in the context of the Constitution as a

whole,” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 325 (2015), it does

not require States to give way in their traditional areas of regulation simply because

private entities have accepted federal grant money. “Hamilton wrote that the Su-

premacy Clause ‘only declares a truth which flows immediately and necessarily

from the institution of a Federal Government.’” Id. at 325 (quoting The Federalist

No. 33, at 207 (Alexander Hamilton) (J. Cooke ed., 1961)). But the “truth” that fed-

eral law is supreme over state law is “expressly confine[d]” “to laws made pursuant

to the Constitution.” The Federalist No. 33, supra, at 207. Such a description “would




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have been grossly inapt if the Clause were understood to give affected parties a con-

stitutional . . . right,” Armstrong, 575 U.S. at 325, to subject the States’ laws to

preemption unilaterally, see Moyle, 144 S. Ct. at 2033–34 (Alito, J., dissenting). If

the Supremacy Clause now allows the federal government to write citizens blank

checks to violate state law, then it has far surpassed its purpose of stating “a truth.”

      The United States has cited in passing a few preemption cases that it claims

support its argument. U.S. Br. 46, Moyle v. United States, 144 S. Ct. 2015 (2024)

(Nos. 23-726, 23-727); see Oral Arg. Tr. 67:15–19. But none “hold[] that a federal

law enacted under the Spending Clause preempts a state criminal law or public health

regulation.” Moyle, 144 S. Ct. at 2034 (Alito, J., dissenting); see Oral Arg. Tr. 67:8–

14. Nor do any address whether the federal government “can preempt the laws of

non-consenting States.” Moyle, 144 S. Ct. at 2034 (Alito, J., dissenting).

      One case applied to a federal grant where the Supreme Court invalidated a

state statute restricting how localities could spend federal grants authorized by Con-

gress for “any” purpose. See Lawrence Cnty., 469 U.S. at 260–68. But the Supreme

Court did not squarely address whether grant conditions are properly understood to

constitute “law” under the Supremacy Clause. And Lawrence County at most can be

understood to preclude States from interfering with how federal money is spent, not

as a case precluding a State from enacting generally applicable police-power statutes

that may preclude grant eligibility. See Coventry Health Care of Mo., Inc. v. Nevils,


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581 U.S. 87, 95–99 (2017) (addressing the types of contracts that can be subrogated

under state law, which says nothing about whether criminal laws may be preempted).

The United States’ other cases address conditions that the State agreed to because it

was the recipient of the funds. See Townsend, 404 U.S. at 292 (1971) (Burger, C.J.,

concurring). And others “simply upheld the Federal Government’s ability to prevent

the use of federal money for purposes other than those intended by Congress.”

Moyle, 144 S. Ct. at 2034 (Alito, J., dissenting); id. at n.16 (citing cases). None speak

to the situation here where private parties—rather than States themselves—are fed-

eral grant recipients seeking immunity from state law.

      B.     Using grant conditions to displace state laws would upend the fed-
             eral structure
      Treating grant conditions as “law” capable of displacing generally applicable

state exercises of the police power threatens a fundamental alteration of the relation-

ships among citizens, their States, and the federal government. Instead of using fed-

eral funding to “induce governments and private parties to cooperate voluntarily

with federal policy,” Fullilove v. Klutznick, 448 U.S. 448, 474 (1980) (citation omit-

ted), the federal government’s position would allow it to pay private citizens to vio-

late state law. This Court should not now countenance such a capacious understand-

ing of congressional power.

      The Constitution does not grant the federal government a “plenary police

power.” Lopez, 514 U.S. at 566. Nor has it ever been “understood to confer upon


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Congress the ability to require the States to govern according to Congress’ instruc-

tions.” New York v. United States, 505 U.S. 144, 162 (1992). Rather, our Constitu-

tion “rests on what might at first seem a counterintuitive insight, that ‘freedom is

enhanced by the creation of two governments, not one.’” Bond v. United States, 564

U.S. 211, 220–21 (2011) (quoting Alden v. Maine, 527 U.S. 706, 758 (1999)). The

Supreme Court thus has been “careful[] to avoid creating a general federal authority

akin to the police power.” Nat’l Fed’n of Indep. Bus., 567 U.S. at 536. It has repeat-

edly rejected attempts by the federal government to erode the distinction “between

what is truly national and what is truly local”—including in the tax and spending

context. Lopez, 514 U.S. at 567–68; see Nat’l Fed’n of Indep. Bus., 567 U.S. at 676

(joint dissent of Scalia, Kennedy, Thomas, and Alito, JJ.) (collecting cases).

      For example, in Linder v. United States, 268 U.S. 5 (1925), the Supreme Court

rejected use of the power to tax for the general welfare to regulate the practice of

medicine. It stated that “[o]bviously, direct control of medical practice in the states

is beyond the power of the federal government,” which meant that “[i]ncidental reg-

ulation of such practice by Congress through a taxing act cannot extend to matters

plainly inappropriate and unnecessary to reasonable enforcement of a revenue meas-

ure.” Id. at 18; see United States v. Doremus, 249 U.S. 86, 93 (1919) (invalidating a

federal regulation of physicians predicated on the taxing power because it invaded




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the police power of States and observing that “[o]f course Congress may not in the

exercise of federal power exert authority wholly reserved to the states”).

      Similarly, in United States v. Butler, 297 U.S. 1 (1936), the Court invalidated

a federal grant program under the Agricultural Adjustment Act that involved transfer

payments from producing farmers to non-producing farmers. The statute, the Court

explained, “invade[d] the reserved rights of the states. It is a statutory plan to regulate

and control agricultural production, a matter beyond the powers delegated to the

federal government.” Id. at 68. And the grants were a critical part of that invasion:

“The tax, the appropriation of the funds raised, and the direction for their disburse-

ment, are but parts of the plan. They are but means to an unconstitutional end.” Id.

Critically for this case, any choice of the citizen to participate was irrelevant, because

even so “[a]t best, it is a scheme for purchasing with federal funds submission to

federal regulation of a subject reserved to the states.” Id. at 72.

      That is precisely what the United States advocates here—a purchase of citizen

submission to federal regulation—with the added problem that such submission

would (at least according to the federal government’s theory) directly subvert state

law on a matter reserved to the States. For after Dobbs, there can be no doubt that

state police power encompasses abortion regulation. See 597 U.S. at 302 (“The Con-

stitution does not prohibit the citizens of each State from regulating or prohibiting




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abortion.”). And the Court in Butler was clear that using the spending power to un-

dermine core state police powers at the election of the citizen is unconstitutional:

“An appropriation to be expended by the United States under contracts calling for

violation of a state law clearly would offend the Constitution.” 297 U.S. at 73. That

same observation applies here. The Court should not permit a new use of the Spend-

ing Clause that allows the federal government to “set policy in the most sensitive

areas of traditional state concern, areas which otherwise would lie outside its reach.”

Nat’l Fed’n of Indep. Bus., 567 U.S. at 675–76 (joint dissent of Scalia, Kennedy,

Thomas, and Alito, JJ.).

      C.     Allowing citizens to opt out of state laws contravenes our form of
             government
      The United States’ attempt to use private bargaining under EMTALA to sus-

pend state-police-power regulations without the State’s consent also implicates the

Constitution’s guarantee of a republican form of government. See U.S. Const. art.

IV, § 4. A republican form of government is one where the people are governed by

legislatively enacted laws, not one where a different sovereign tempts citizens to

exempt themselves from state laws. See Hamburger, supra, at 147. Manifestly, “the

purchase of submission is not what traditionally was understood as a republican form

of government.” Id. That observation is particularly apt where submission is not un-

dertaken by the State itself, but by a citizen being paid by the federal government to

violate state law.


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      Although the Supreme Court has never directly enforced the Guarantee

Clause against the United States, the Supreme Court has observed that “perhaps not

all claims under the Guarantee Clause present nonjusticiable political questions.”

New York, 505 U.S. at 185; see Democratic Party of Wis. v. Vos, 966 F.3d 581, 589

(7th Cir. 2020) (“We do not interpret Rucho or any other decision by the Supreme

Court as having categorically foreclosed all Guarantee Clause claims as nonjustici-

able, even though no such claim has yet survived Supreme Court review.”). One type

of claim that the Supreme Court has not foreclosed is a claim arising from Congress

(or the Executive Branch) “actively interfer[ing] in the states’ republican self-gov-

ernance.” Hamburger, supra, at 147. That is the case here. The United States’ at-

tempt to pay hospitals to violate valid state laws enacted by elected state officials

constitutes a paradigmatic violation of the Guarantee Clause.

IV.   The United States Lacks a Cause of Action

      The novelty of the United States’ position—that it can give private parties

money to violate state law and then sue States to interrupt enforcement of the vio-

lated provisions—is underscored by its inability to identify a cause of action. To sue

a State, “the federal government,” “like any other plaintiff,” “must first have a cause

of action.” United States v. California, 655 F.2d 914, 918 (9th Cir. 1980). But no

statute provides the United States a cause of action here.




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      Previously, the United States attempted to justify its suit by invoking “equita-

ble” practice. U.S. Br. in Opp. to Stay at 38 n.10, Moyle v. United States, 144 S. Ct.

2015 (2024) (Nos. 23-726, 23-727); Oral Arg. Tr. 84:3–87:21. But the “power of

federal courts of equity to enjoin unlawful executive action is subject to express and

implied statutory limitations.” Armstrong, 575 U.S. at 327; see Ziglar v. Abbasi, 582

U.S. 120, 133 (2017) (if Congress “does not itself so provide, a private cause of

action will not be created through judicial mandate”). Those limitations include the

principle that the “express provision of one method of enforcing a substantive rule

suggests that Congress intended to preclude others.” Armstrong, 575 U.S. at 328

(quoting Alexander v. Sandoval, 532 U.S. 275, 290 (2001)). That rule applies here.

      EMTALA provides a comprehensive scheme of enforcement. EMTALA au-

thorizes the federal government to seek civil monetary penalties against hospitals

and physicians who “negligently violate[]” its stabilizing requirements. 42 U.S.C.

§ 1395dd(d)(1). And consistent with Congress’s “typical” choice of “remedy” for

violations of Spending Clause conditions, EMTALA authorizes the federal govern-

ment to exclude hospitals and physicians who violate EMTALA from participating

in other federal programs. Talevski, 599 U.S. at 183 (quoting Gonzaga Univ., 536

U.S. at 280); see 42 U.S.C. §§ 1395a-7(b)(5), 1395cc(b)(2). EMTALA, however,

does not authorize the federal government to seek injunctive relief against States for

their regulatory choices—a tactic that would engender serious federalism concerns.


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      The novelty of this suit cuts against the United States’ position too. As the

Supreme Court has explained, “[t]he equitable powers of federal courts are limited

by historical practice.” Whole Woman’s Health v. Jackson, 595 U.S. 30, 44 (2021)

(citing Atlas Life Ins. Co. v. W. I. Southern, Inc., 306 U.S. 563, 568 (1939)). Federal

courts have “no authority” to create causes of action or “remedies previously un-

known to equity jurisprudence.” Grupo Mexicano de Desarrollo, S.A. v. All. Bond

Fund, Inc., 527 U.S. 308, 332 (1999). Rather, a suit at equity must fall “within some

clear ground of equity jurisdiction.” Boise Artesian Hot & Cold Water Co. v. Boise

City, 213 U.S. 276, 285 (1909).

      At no stage of litigation, however, has the United States identified a single

precedent authorizing it to seek injunctive relief against States over generally appli-

cable statutes that allegedly conflict with Spending Clause conditions on grants to

private parties. Both United States v. Washington, 596 U.S. 832 (2022), and Arizona

v. United States, 567 U.S. 387 (2012), arose out of disputes about state statutes that

allegedly conflicted with the federal government’s own operations. The radical ex-

pansion of federal enforcement authority that the federal government seeks here

must come from Congress, “not be created through judicial mandate.” Ziglar, 582

U.S. at 133.




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                                 CONCLUSION

     The district court’s judgment should be reversed.


                                                 Respectfully submitted,

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                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT

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